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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

SARAH LINDSLEY                                 §
                                               §
    Plaintiff,                                 §
                                               §                         CIVIL ACTION NO.
                                               §
                                               §
                                                                              3:17-CV-2942-B
                                               §
                      v.                       §
                                               §
                                                                 JURY TRIAL DEMANDED
TRT HOLDINGS, INC. and OMNI                    §
HOTELS MANAGEMENT                              §
CORPORATION,                                   §
                                               §
       Defendants.                             §



    DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
            RENEWED MOTIONS FOR SUMMARY JUDGMENT


      Defendants TRT Holdings, Inc. (“TRT”) and Omni Hotels Management Corporation
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(“Omni”) (together, “Defendants”) hereby move for an extension of time to file their Renewed

Motions for Summary Judgment pursuant to the Court’s January 29, 2021 Order, [Dkt. 141], and

respectfully request that Defendants’ time to file their Renewed Motions be delayed.

       1.        This motion is not opposed.

       2.        On January 29, 2021, the United States Court of Appeals for the Fifth Circuit

ordered that the Court’s grant of summary judgment in Defendants’ favor was affirmed in part and

reversed in part, and the cause was remanded for further proceedings in accordance with the

Appellate Court’s opinion.




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        3.     On January 29, 2021, this Honorable Court ordered Defendants to file Renewed

Summary Judgment Motions asserting arguments on the remaining issues within 21 days. [Dkt.

141].

        4.     At present, Defendants’ deadline to file renewed Motions is February 19, 2021.

[Dkt. 141].

        5.     This is Defendants first request to extend this deadline.

        6.     On February 15, 2021, pursuant to Local Rule of Civil Procedure 7.1.a., the

undersigned counsel consulted with counsel for Plaintiff and requested for an agreed extension of

21 days. Counsel for Plaintiff, however represented that Plaintiff would only agree to an extension

of seven (7) days. Accordingly, Defendants request a seven (7) day extension of the deadline.

        7.     The requested extension is not requested for purposes of delay but in the interest of

justice. The extension sought would extend that deadline to February 26, 2021, which will

hopefully provide adequate opportunity for Defendants to locate and assess relevant

documentation regarding unnamed male food and beverage directors at other Omni locations, if

any, pursuant to the Appellate Court’s opinion. At present, the only evidence in the summary

judgment record before the Court relating to these unnamed individuals is located in Plaintiff’s

Appendix in Support of her Response to Defendants’ Motion[s] for Summary Judgment as Exhibit

“I”. [Dkt. 87-9]. As reflected in same, none of these persons are named, and nearly half of the

listed unnamed individuals were apparently hired by Omni over two decades ago. Locating

information related to these individuals has been made more challenging by property closures and

other restrictions resulting from the COVID-19 pandemic.

        8.     Additionally, the power outages, travel delays, and public and private office

closures caused by extreme cold throughout Texas this week have caused further challenges for



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Defendants and their counsel. Due to these conditions, the Electric Reliability Council of Texas,

the agency that oversees the state’s electric grid, has declared Texas at its highest energy

emergency level. This means it has started rolling outages across the state. The anticipated power

outages will no doubt cause further challenges in locating and assessing relevant documentation.

Given these exigent circumstances, Defendants request that Defendants’ time to file their Renewed

Motions be delayed until at least February 26, 2021.

       9.      Based on the foregoing, Defendants respectfully request that their unopposed

motion for an extension of time be granted. Defendants believe the one-week extension will be

adequate to finish gathering the relevant information the Renewed Summary Judgment Motions.

In making this motion, given this week’s weather event and the other logistical challenges

described above, Defendants respectfully reserve the possibility of needing additional time, in

which case, they will advise the Court accordingly.

                                 [Signature on following page]




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Dated: February 16, 2021

                                Respectfully submitted,

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                                HOLDINGS, INC. AND OMNI HOTELS
                                MANAGEMENT CORPORATION




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                            CERTIFICATE OF CONFERENCE

        On the 15th day of February 2021, the undersigned counsel conferred via email with
Plaintiff’s counsel, Jay Ellwenger, concerning the relief sought in this Motion, and was advised
that Plaintiff did not oppose an extension of seven (7) days.


                                            /s/ Michael D. Hudlow, Jr.
                                            Michael D. Hudlow, Jr.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16h day of February, 2021, a true and correct copy of the
foregoing document was served on all counsel of record via electronic mail pursuant to the Federal
Rules of Civil Procedure.

CM/ECF E-Service

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